                 Case 8:20-cv-00048-JVS-JDE      Document 2222 Filed 10/29/24       Page 1 of 17 Page
                                                     ID #:186818

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           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,                  APPLE’S TRIAL BRIEF
                    a Delaware corporation,
           20
                                       Plaintiffs,
           21
                          v.
           22                                                     Trial: Nov. 5, 2024
                    APPLE INC.,
           23       a California corporation,
           24                          Defendant.
           25
           26                          REDACTED VERSION OF DOCUMENT
                                       PROPOSED TO BE FILED UNDER SEAL
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                    APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE    Document 2222 Filed 10/29/24        Page 2 of 17 Page
                                                   ID #:186819

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                    APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE         Document 2222 Filed 10/29/24                  Page 3 of 17 Page
                                                        ID #:186820

             1
             2                                        TABLE OF CONTENTS
             3           A.     Apple’s Summary of The Case .................................................................. 1
             4           B.     Plaintiffs’ Memorandum Omits Discussion Of Their Permanent
                                Injunction Request, Which Is Barred ....................................................... 3
             5
                         C.     Plaintiffs’ Memorandum Misstates The Law And The Record ................. 7
             6
                                1.      The Statute Of Limitations .............................................................. 7
             7
                                2.      Liability Under A Respondeat Superior Theory.............................. 8
             8
                                3.      Liability Under An Acquisition Theory .......................................... 9
             9
                                4.      The                                    Theory Of Harm ................................ 9
           10
                                5.      Waiver Of The Right To Appeal Lost Profits ............................... 10
           11
                         D.     The Presence Of A New Party In This Case Raises Numerous
           12                   Questions About Ownership, Possession, Secrecy, and Remedies ........ 10
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                    APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                        i               CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE                Document 2222 Filed 10/29/24                     Page 4 of 17 Page
                                                               ID #:186821

             1                                             TABLE OF AUTHORITIES
             2
                                                                                                                                    Page(s)
             3
                    Cases
             4
                    Asphalt Trader Ltd. v. Beall,
             5
                       2024 WL 698313 (10th Cir. Feb. 21, 2024) ......................................................... 7
             6
                    Bennett v. Isagenix Int’l, LLC,
             7        2024 WL 4343009 (9th Cir. Sept. 30, 2024) .................................................... 6, 7
             8
                    eBay Inc. v. MercExchange, L.L.C.,
             9        547 U.S. 388 (2006).............................................................................................. 6
           10       Gabriel Techs. Corp. v. Qualcomm Inc.,
           11         857 F. Supp. 2d 997 (S.D. Cal. 2012) .................................................................. 8
           12       Klang v. Pflueger,
                       2014 WL 4922401 (C.D. Cal. July 10, 2014) ...................................................... 8
           13
           14       Masimo Corp. v. True Wearables, Inc.,
                      2022 WL 17083396 (C.D. Cal. Nov. 7, 2022) ..................................................... 5
           15
           16       Parker v. Winnipiseogee Lake Cotton & Woollen Co.,
                      67 U.S. 545 (1862)................................................................................................ 6
           17
                    Robert L. Cloud & Associates v. Mikesell,
           18         69 Cal. App. 4th 1141 (1999) ............................................................................... 6
           19
                    TD Bank N.A. v. Hill,
           20         928 F.3d 259 (3d Cir. 2019) ................................................................................. 7
           21       Waymo LLC v. Uber Techs., Inc.,
           22         2018 WL 466510 (N.D. Cal. Jan. 18, 2018)......................................................... 5
           23       Yeti by Molly Ltd. v. Deckers Outdoor Corp.,
           24          259 F.3d 1101 (9th Cir. 2001) .......................................................................... 4, 5

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           28
                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                                ii               CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE        Document 2222 Filed 10/29/24        Page 5 of 17 Page
                                                       ID #:186822

             1               Apple submits the following brief pursuant to Local Rule 16-10 to (1) provide a
             2      counter summary of the case in response to Plaintiffs’ Memorandum of Contentions of
             3      Fact and Law, (2) address issues that should have been—but were not—raised in the
             4      Plaintiffs’ Memorandum, and (3) highlight several of Plaintiffs’ Memorandum’s legal
             5      errors and factual misstatements.1
             6               A.     Apple’s Summary of The Case
             7               Introduced in 2015, Apple Watch is an engineering marvel that is the product of
             8      years of hard work and innovation by thousands of Apple engineers and other
             9      employees. From its industrial design to its internal workings, every aspect of Apple
           10       Watch reflects Apple’s dedication to the consumer and to consumer electronics. Apple
           11       Watch offers consumers hundreds of features, including numerous health and wellness
           12       features.
           13                Plaintiffs, in contrast to Apple, have historically been and remain today focused
           14       on medical devices. For decades, Plaintiffs have marketed and sold large medical
           15       devices, engineered for use in hospitals and clinics. Only recently have they turned
           16       any attention to attempting to develop and market a smartwatch of their own,
           17       apparently motivated by a desire to emulate Apple’s success with Apple Watch.
           18                Plaintiffs have wrongly tried to use this litigation as a maneuver to clear a path
           19       for their smartwatch. Plaintiffs began this litigation by asserting claims of patent
           20       infringement under twelve patents, asserting that Apple infringed at least 245 claims.
           21       But in response to IPRs filed by Apple, the Patent Office subsequently determined that
           22       the vast majority of these claims should never have issued in the first place because
           23       Plaintiffs tried to claim as their own what others had already done before. Ultimately,
           24       Plaintiffs’ twelve patent infringement claims were reduced to two.
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                    1
           27        Apple also objects to Plaintiffs’ decision to file a Memorandum that appears to
                    exceed the normal 7,000-word limit. See L.R. 11-6.1.
           28
                        APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                  1            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE      Document 2222 Filed 10/29/24        Page 6 of 17 Page
                                                     ID #:186823

             1            Left without a patent infringement case, Plaintiffs pivoted to trying to
             2      manufacture a case based on alleged trade secret misappropriation. For more than a
             3      year, Plaintiffs struggled to state such a claim, eventually amending their complaint
             4      four times before the Court permitted them to proceed. Even then, the complete lack
             5      of support for Plaintiffs’ claims forced them to drop most of their alleged trade
             6      secrets—including the lone alleged trade secret that Plaintiffs previously used to justify
             7      their request for a preliminary injunction—and ultimately to abandon all requests for
             8      monetary relief.
             9            The weakness of Plaintiffs’ claims was readily apparent at the April 2023 trial,
           10       where this Court granted Apple judgment as a matter of law on nearly half of
           11       Plaintiffs’ alleged trade secrets and all but one juror was prepared to vote in Apple’s
           12       favor on the remainder. In the intervening time, Plaintiffs’ case has only shrunk
           13       further. In an effort to secure a bench trial, Plaintiffs have abandoned all claims to
           14       punitive damages, a reasonable royalty, and lost profits damages. Earlier this month,
           15       Plaintiffs voluntarily surrendered their demand for $1.85 billion in unjust enrichment
           16       damages.
           17             Today, Plaintiffs are not seeking a penny for alleged trade secrets they claimed
           18       for years were worth many billions of dollars. Although Plaintiffs have attempted in
           19       the last two weeks to reframe this nearly five-year-old litigation as an injunction case,
           20       they have not preserved the right to seek that remedy. Nor would an injunction be
           21       appropriate here, where Plaintiffs’ past damages requests make clear that legal
           22       remedies are available and where the alleged trade secrets affect—at absolute best—
           23       one circuit among millions in a tiny sliver of one of Apple Watch’s many features.
           24             Apple looks forward to once again demonstrating at trial that not a shred of
           25       Plaintiffs’ confidential information was ever used for Apple Watch, and that what
           26       Plaintiffs claim as “trade secrets” are ideas long known and used by multiple
           27       companies. Plaintiffs tellingly have not come forward with even a single pre-litigation
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                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                2            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE      Document 2222 Filed 10/29/24        Page 7 of 17 Page
                                                     ID #:186824

             1      document that records—in full—any of their alleged trade secrets. That is because
             2      they have been contrived for this litigation.
             3            Plaintiffs are also relying on certain invalid and anticompetitive provisions of an
             4      employee confidentiality agreement to launch meritless claims of misconduct against a
             5      former employee. Apple repeatedly told Dr. Marcelo Lamego not to share any
             6      confidential information from his former employers and he did not convey any trade
             7      secrets to Apple. Indeed, Apple Watch, including its health sensing features, was well
             8      into development when Dr. Lamego worked at Apple for a mere six months in 2014.
             9      And there is nothing wrong with an employee changing jobs. As this Court has
           10       observed, the law protects the ability of employees to move freely from company to
           11       company—“employees are not only permitted but encouraged” to do so. Dkt. 1439 at
           12       3.
           13             Plaintiffs’ case ultimately rests on a series of out-of-context quotes and
           14       misdirection. Apple took nothing from Plaintiffs. The responsibility for Plaintiffs’
           15       failure to successfully commercialize a smartwatch is theirs alone.
           16             B.     Plaintiffs’ Memorandum Omits Discussion Of Their Permanent
           17                    Injunction Request, Which Is Barred
           18             Local Rule 16-4.1 required Plaintiff to provide both a “summary statement of
           19       the claims Plaintiff has pleaded and plans to pursue” and “a brief description of the key
           20       evidence in support of each of the claims. Here, Plaintiffs have failed to provide any
           21       discussion at all regarding their request for a permanent injunction, much less describe
           22       the evidence in support of that claim.
           23             In the nearly five years since this case began, Plaintiffs have failed to disclose any
           24       facts that would support an injunction, despite their responsibility to do so under Federal
           25       Rule of Civil Procedure 37(c) if they wanted to pursue such relief. The Memorandum,
           26       for example, describes other types of relief Plaintiffs were seeking (including unjust
           27       enrichment pursuant to Cal. Civ. Code § 3426.3 and attorney’s fees pursuant to Cal. Civ.
           28
                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                3            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE       Document 2222 Filed 10/29/24        Page 8 of 17 Page
                                                      ID #:186825

             1      Code § 3426.4), but makes no mention of an injunction request. See Dkt. 2175 at 4-5;
             2      see also id. at 21-24 (discussing facts supporting requests for unjust enrichment and
             3      attorney’s fees). Where Plaintiffs’ filings refer to an injunction, they do so only in
             4      passing and in the most conclusory way. See, e.g., Dkt. 296-1 at 132 (operative
             5      complaint).2
             6            Equally important, Plaintiffs have failed to provide any meaningful response to
             7      Apple’s Interrogatory No. 17 regarding any injunction, which asked Plaintiffs to “[s]tate
             8      in detail all factual and legal bases for Your contention that You are entitled to any relief
             9      in this case, including … injunctive relief.” Dkt. 2181-2 at 5 (emphasis added). Since
           10       that interrogatory was first served in 2020, Plaintiffs have supplemented it nine times
           11       before the first trade secret trial and three times after that—most recently in July 2024—
           12       and have never identified their purported basis for seeking an injunction. Id. at 6, 13,
           13       21.
           14             Put simply, despite years of litigation, Plaintiffs have failed to identify what harm
           15       they believe to be irreparable or why it could not be adequately compensated through
           16       legal remedies (which they have now abandoned) or disclosed any facts relevant to the
           17       remaining factors that would need to be evaluated in any injunction analysis. Plaintiffs’
           18       failure to provide information about their request for injunctive relief means that the
           19       request is “untimely and should be excluded under Rule 37(c)(1).” Dkt. 1526 at 1
           20       (excluding part of Apple’s unclean hands defense shortly before April 2023 trial); see
           21       also Yeti by Molly Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106-1108 (9th Cir.
           22       2001) (discussing FRCP 37).
           23             “[N]either of the[] exceptions” to Rule 37(c)(1)—substantial justification or
           24       harmlessness—“applies here.” Yeti, 259 F.3d at 1106. Plaintiffs have not met their
           25       burden to show that their decision to provide no details regarding their request for
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                    22
           27        Masimo has since abandoned its request for monetary relief for unjust enrichment.
                    Dkt. 2181-1 at 1-2.
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                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                 4            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE       Document 2222 Filed 10/29/24        Page 9 of 17 Page
                                                      ID #:186826

             1      injunctive relief throughout four years of litigation was justified. Nor have Plaintiffs
             2      “show[n]” that the delay was harmless. Id. at 1107. Plaintiffs’ failure to disclose
             3      anything about the sole meaningful remedy they now purportedly seek deprived Apple
             4      of the opportunity to take discovery on Plaintiffs’ (still undisclosed) theory of irreparable
             5      harm and precluded Apple from obtaining opinions from their expert witnesses on any
             6      aspect of Plaintiffs’ claim for injunctive relief.
             7            To date, Plaintiffs have not provided any substantive defense of their four years
             8      of silence on their permanent injunction request. At most, Plaintiffs have suggested that
             9      Apple’s invocation of Rule 37(c)(1) is untimely because it was not asserted in the
           10       original pretrial conference order. See Dkt. 2177-1 at 5 n.10. But Plaintiffs have
           11       identified “no authority” for the proposition that the “parties’ joint pretrial order
           12       somehow supersedes and cures any deficiencies” in Plaintiffs’ discovery obligations.
           13       Waymo LLC v. Uber Techs., Inc., 2018 WL 466510, at *1 (N.D. Cal. Jan. 18, 2018).
           14       This Court granted Plaintiffs relief under Rule 37(c)(1) just one week before the April
           15       2023 trial on an issue not raised in the pretrial order. Dkt. 1526 at 1 (Apple’s unclean
           16       hands defense). Similarly, this Court granted True Wearables Rule 37(c)(1) relief in the
           17       final findings of fact and conclusions of law. See Masimo Corp. v. True Wearables,
           18       Inc., 2022 WL 17083396, at *11 (C.D. Cal. Nov. 7, 2022).            Regardless, the parties
           19       mutually agreed to file an amended pretrial conference order on October 23, 2024, and
           20       there can be no dispute that Apple indicated in that document that Plaintiffs had failed
           21       to preserve their remaining remedies. Dkt. 2177-1 at 5 n.10.
           22             At the pretrial conference hearing, Plaintiffs also suggested for the first time that
           23       they had preserved their right to seek a permanent injunction in November 2024 because
           24       they filed a motion for a preliminary injunction in August 2020. See 10/28/24 Tr. 19;
           25       see also Dkt. 116. That motion provides no guidance regarding Plaintiffs’ current theory
           26       of the case, as it was based on an alleged trade secret no longer at issue and sought very
           27       narrow relief—advance notice of any Apple publication that “[c]oncerns measurement
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                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                  5           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE      Document 2222 Filed 10/29/24        Page 10 of 17 Page
                                                     ID #:186827

             1      or tracking of health-related or physiological information” and “[n]ames as an inventor
             2      or author one or more of Plaintiffs’ former employees.” Dkt. 198 at 3-4. The permanent
             3      injunction contemplated in the operative complaint and in the pretrial conference order
             4      is not so limited. E.g., Dkt. 2177-1 at 18 (asking this Court to “enjoin Apple from further
             5      misappropriation”).
             6            In any event, even if Plaintiffs had preserved an injunction argument, they would
             7      be precluded from receiving an injunction because they had adequate “remedies
             8      available at law,” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006), which
             9      they simply have given up on pursuing. As discussed above, Plaintiffs have long
           10       acknowledged that any injury they have suffered from Apple’s purported
           11       misappropriation is compensable via money—whether through a reasonable royalty (a
           12       remedy Plaintiffs waived in order to limit this case to equitable issues) or lost profits (a
           13       remedy Plaintiffs recently waived the right to seek on appeal)—and any purported
           14       benefit to Apple is redressable through an award of unjust enrichment. Plaintiffs have
           15       provided detailed calculations for each potential form of relief and, at various points in
           16       this case, have sought between $1.85 billion and considerably more. Dkt. 2181-1 at 1-
           17       2.
           18             CUTSA’s injunction provision is not meant to be invoked in such a situation.
           19       Rather, it is to be reserved for “(1) where pecuniary compensation would not afford
           20       adequate relief or (2) where ascertaining adequate compensation would be extremely
           21       difficult.” Robert L. Cloud & Associates, v. Mikesell, 69 Cal. App. 4th 1141, 1150
           22       (1999). Neither condition applies here.
           23             Moreover, that Plaintiffs have “voluntarily chosen to forego a legal remedy does
           24       not mean that ‘no adequate legal remedy’ exists.” Bennett v. Isagenix Int’l, LLC, 2024
           25       WL 4343009, at *7 (9th Cir. Sept. 30, 2024). As the Supreme Court has long held,
           26       “where the remedy at law[] is” “plain, adequate, and complete,” “the party seeking
           27       redress must pursue it.’” Parker v. Winnipiseogee Lake Cotton & Woollen Co., 67 U.S.
           28
                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                 6           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE        Document 2222 Filed 10/29/24       Page 11 of 17 Page
                                                       ID #:186828

             1      545, 551 (1862) (emphasis added). Put slightly differently, a party “cannot bolster its
             2      request for equitable relief by abandoning its request for … damages.” TD Bank N.A. v.
             3      Hill, 928 F.3d 259, 282-283 (3d Cir. 2019); accord Asphalt Trader Ltd. v. Beall, 2024
             4      WL 698313, at *9 (10th Cir. Feb. 21, 2024) (“Plaintiffs cannot artificially adjust their
             5      damages this way to claim that they have no adequate remedy at law and must resort to
             6      an equitable claim”); Bennett, 2024 WL 4343009, at *7 (“relinquishment of what would
             7      otherwise be an adequate legal remedy … should not suffice for purposes of”
             8      establishing the right to an injunction).
             9               C.     Plaintiffs’ Memorandum Misstates The Law And The Record
           10                Plaintiffs’ Memorandum also includes particularly glaring misstatements
           11       regarding the law governing Apple’s statute of limitations defense, Plaintiffs’
           12       respondeat superior theory, and Plaintiffs’ theory that Apple can be held liable for
           13       improper acquisition of the alleged trade secrets. In addition, Plaintiffs are wrong to
           14       suggest that (1) they can present a theory of harm based on a missed business
           15       opportunity with Apple or (2) they have preserved the right to appeal this Court’s
           16       decision striking Plaintiffs’ lost profits damages theory (a claim that was debunked at
           17       the pretrial conference).3
           18                       1.    The Statute Of Limitations
           19                Plaintiffs wrongly assert that “Apple must prove that Masimo, prior to January
           20       9, 2017, either: [a] discovered the misappropriation, or [b] should have discovered the
           21       misappropriation if it exercised reasonable diligence.” Dkt. 2175 at 28 (emphasis
           22       added). In reality, the burden is on Plaintiffs to establish that they should not have
           23       discovered the misappropriation prior to January 9, 2017.
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           26        Apple’s focus on these particular issues should not be read to suggest Plaintiffs
                    otherwise correctly state the law or the facts. In particular, the correct legal principles
           27       are laid out in Apple’s Memorandum, and Apple objects to any deviation from those
                    principles.
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                        APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                  7            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE      Document 2222 Filed 10/29/24         Page 12 of 17 Page
                                                     ID #:186829

             1            This is because, at the FRCP 50(b) stage, this Court “adopt[ed] the parties’
             2      agreement” that “since the alleged misappropriation derives from Lamego, Apple has
             3      met prong (1) [of the statute of limitations defense],”—i.e., “proving that any alleged
             4      misappropriation first occurred before January 9, 2017. Dkt. 1901 at 17, 19; see also
             5      7/13/23 Tr. 52:13-15 (concession from Plaintiffs’ counsel). The Court expressly stated
             6      that this ruling would apply to “any future trial,” (id. at 17), and the parties further
             7      memorialized that agreement in the operative pretrial conference order, Dkt. 2177-1 at
             8      14.
             9            “Since it is undisputed that the alleged misappropriation of trade secrets took
           10       place outside the limitations period, Plaintiffs have the burden of proving the facts
           11       necessary to toll the statute,” Gabriel Techs. Corp. v. Qualcomm Inc., 857 F. Supp. 2d
           12       997, 1003 (S.D. Cal. 2012)—i.e., that the misappropriation was not “discovered or by
           13       the exercise of reasonable diligence should have been discovered” before January 9,
           14       2017, Cal. Civ. Code § 3426.6. The only case cited in Plaintiffs’ Memorandum
           15       outlines the same basic rule, albeit in the motion to dismiss context. See Klang v.
           16       Pflueger, 2014 WL 4922401, at *6 (C.D. Cal. July 10, 2014) (“Plaintiffs have the
           17       burden to show diligence.”).
           18                    2.     Liability Under A Respondeat Superior Theory
           19             Plaintiffs wrongly contend that Apple can be “liable under the doctrine of
           20       respondeat superior” because Lamego knew or should have known that he was
           21       improperly conveying confidential information to Apple. Dkt. 2175 at 21. Again, this
           22       issue was definitively resolved at the last trial. The parties briefed the question
           23       extensively and this Court concluded that “Apple is correct that ‘it is not
           24       ‘appropriate … to impute an agent’s knowledge of a secret to the principal” at least
           25       where the agent “did not inform other employees of plaintiff’s concept.” Dkt. 1723 at
           26       3; accord Carr v. AutoNation Inc., 2018 WL 288018, at *2 (E.D. Cal. Jan. 4, 2018);
           27       see also Cisco Systems, Inc. v. Chung, 2023 WL 2622155, at *12 (N.D. Cal. Mar. 22,
           28
                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                 8            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE      Document 2222 Filed 10/29/24         Page 13 of 17 Page
                                                     ID #:186830

             1      2023) (vicarious liability in the trade secret context does not extend to the intent
             2      requirement). Moreover, as the Court explained in its Rule 50(b) order, “the Court
             3      already ruled on this issue as it relates to the jury instructions and verdict form and
             4      does not intend to revisit it for any future trial.” Dkt. 1901 at 18 n.7.
             5                   3.     Liability Under An Acquisition Theory
             6            Plaintiffs wrongly suggest that this Court can find Apple liable under a trade
             7      secret acquisition theory (as opposed to a use or disclosure theory). See Dkt. 2175 at 4
             8      (asserting “Apple improperly acquired, used, or disclosed the [alleged] Trade
             9      Secret[s]”); see also, e.g., id. at 7 (“Apple Improperly Acquired and Used Trade Secret
           10       L4”); id. at 12 (“Apple Improperly Acquired, Disclosed and Used Trade Secret D1”).
           11       Plaintiffs may not, as a matter of law, rely on an acquisition-only theory of liability
           12       because they have failed to identify any acquisition-only theory of relief. Rather,
           13       “throughout this litigation the only discernible damages theories preserved by
           14       [Plaintiffs] have been grounded in [Apple’s] alleged use … of trade secrets,” and
           15       “[t]hese theories reference acquisition only insofar as it forms a logical prerequisite to
           16       use[.]” Waymo, 2018 WL 466510, at *3; see also, e.g., Directions for Use, CACI
           17       4405. Put slightly differently, Plaintiffs have not articulated any theory of liability
           18       where Apple’s acquisition of the alleged trade secrets alone has caused them harm or
           19       gave Apple a benefit.
           20                    4.     The                            Theory Of Harm
           21             Plaintiffs’ Memorandum improperly relies on a theory of harm that this Court
           22       struck prior to the last trial as a discovery sanction—i.e., that Apple’s alleged
           23       misappropriation harmed Plaintiffs by
           24                                       . See Dkt. 2175 at 23-24. This Court has clearly and
           25       repeatedly barred Plaintiffs from relying both on this theory of harm and the
           26       underlying facts because neither were timely disclosed during fact discovery. See Dkt.
           27       1283 at 6-8 (Plaintiffs could not advance a theory about “
           28
                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                 9            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE      Document 2222 Filed 10/29/24         Page 14 of 17 Page
                                                     ID #:186831

             1                                                                                  .”). Although
             2      this Court’s prior ruling was in the specific context of barring Plaintiffs’ lost profits
             3      damages theory, the same rule would logically apply to Plaintiffs’ attempts to show
             4      harm for purposes of liability. Indeed, several passages from the Memorandum recite
             5      nearly verbatim the factual theories that this Court held were barred under FRCP 37.
             6      Compare Dkt. 1275 at 24 (“
             7
             8
             9                                     ) with Dkt. 1283 at 7 (noting that witness improperly
           10       relied on “
           11
           12                                                                ).
           13                     5.    Waiver Of The Right To Appeal Lost Profits
           14             Plaintiffs contend in an erroneous footnote that Masimo “reserves all rights to
           15       appeal” this Court’s decision dismissing Plaintiffs’ “lost profits damages theory” from
           16       this case. Dkt. 2175 at 1 n.1. Plaintiffs unambiguously waived the right to pursue
           17       such an appeal in order to secure a bench trial. See Dkt. 2143-6 at 32. During
           18       yesterday’s pretrial conference, this Court confirmed that Plaintiffs’ waiver of the right
           19       to appeal made a difference in his decision to grant a bench trial and indicated that
           20       Plaintiffs would be judicially estopped from now changing position. 10/28/24 Tr. 10-
           21       11.
           22             D.      The Presence Of A New Party In This Case Raises Numerous
           23                     Questions About Ownership, Possession, Secrecy, and Remedies
           24             On August 9, 2023, Plaintiffs (1) informed Apple that Plaintiff “Cercacor
           25       Laboratories, Inc. reincorporated in Nevada and changed its name to Willow
           26       Laboratories” and (2) requested that Apple stipulate to modify the case caption. Ex. 1.
           27       In response, Apple asked Plaintiffs to “explain why this new entity is a proper
           28
                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                                10            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE     Document 2222 Filed 10/29/24        Page 15 of 17 Page
                                                    ID #:186832

             1      plaintiff” and sought (a) documentation regarding incorporation, (b) agreements
             2      between Willow and Masimo/Cercacor, (c) documents concerning the allocation or
             3      transfer of intellectual property to Willow, and (d) Willow’s most recent financial
             4      statements. Ex. 1. Apple’s response was met with silence for two months. In the
             5      meantime, Plaintiffs’ counsel continued to represent on court filings that Cercacor was
             6      still a party to this litigation. Even Plaintiffs’ Memorandum—filed on October 15,
             7      2024—states that the Memorandum is being filed by “Plaintiffs’ Masimo Corporation
             8      and Cercacor Laboratories, Inc.,” (see Dkt. 2175 at 1), and does not mention the word
             9      “Willow” even once.
           10             Plaintiffs provided Apple with some of the requested information regarding
           11       Willow for the first time on October 13, 2024. See Dkt. 2177-1 at 1 n.2. That
           12       documentation suggests that Cercacor dissolved—and Willow was incorporated—in
           13       late December 2023. Id. To date, Plaintiffs have provided no explanation for why
           14       they waited eight months to notify Apple of this new entity (and another two months to
           15       notify this Court), or why they have failed to update their response to Apple’s
           16       Interrogatory No. 33 (regarding ownership of the alleged trade secrets, see Dkt. 1097-
           17       1) to provide details regarding the change in ownership and possession of the alleged
           18       trade secrets at issue here. Apple’s first opportunity to seek answers to the four
           19       questions it posed in August was earlier today, when Willow employee Gerry
           20       Hammarth sat for a deposition.
           21             Plaintiffs’ delay in revealing—and providing details regarding—the transition
           22       from Cercacor to Willow is both unjustified and prejudicial. Among other things, the
           23       identity of the Plaintiffs matters for questions ranging from (1) possession/ownership
           24       (does Willow have independent standing to bring suit?), (2) liability (has Willow made
           25       reasonable efforts to maintain the secrecy of the alleged trade secrets?), and (3)
           26       remedies (even assuming Plaintiffs have preserved the right to bring an injunction,
           27       should Willow’s supposed irreparable harm and lack of monetary remedies matter?).
           28
                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                               11           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE     Document 2222 Filed 10/29/24       Page 16 of 17 Page
                                                    ID #:186833

             1
             2      Dated: October 29, 2024                Respectfully submitted,

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                     APPLE’S TRIAL BRIEF FOR THE NOVEMBER 5, 2024 RETRIAL
Wilmer Cutler
                                                              12            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE     Document 2222 Filed 10/29/24       Page 17 of 17 Page
                                                    ID #:186834

             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 3,575 words, which [choose one]:
             4             X complies with the word limit of L.R. 11-6.1
             5                complies with the word limit set by court order dated [date].
             6
             7      Dated: October 29, 2024                Respectfully submitted,

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